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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                             Chapter 11

PURDUE PHARMA L.P., et al.,                                        Case No. 19- 23649 (RDD)

                    Debtors. 1                                     (Jointly Administered)


                         FINAL ORDER AUTHORIZING DEBTORS TO
                       CONTINUE AND RENEW SURETY BOND PROGRAM

           Upon the motion (the “Motion”)2 of Purdue Pharma L.P. and its affiliates that are debtors

and debtors in possession in these cases (collectively, the “Debtors”) for entry of an interim

order and a final order (this “Order”) authorizing, but not directing, the Debtors to maintain,

continue and renew, in their sole discretion, their Surety Bond Program on an uninterrupted basis

and in accordance with the same practices and procedures as were in effect before the Petition

Date pursuant to sections 363 and 364 of the Bankruptcy Code, as more fully described in the

Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief

requested therein being a core proceeding under 28 U.S.C. § 157(b); and venue being proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.
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    Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in the Motion.
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Motion having been provided, and it appearing that no other or further notice of such request

need be provided; and the Court having reviewed the Motion and held an interim hearing and a

final hearing, on October 10, 2019, to consider the relief requested in the Motion on a final basis

(the “Hearing”); and upon the Lowne Declaration filed contemporaneously with the Motion, and

the record of the Hearing; and there being no objections to the Motion; and after due deliberation

the Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish good and sufficient cause for the relief granted herein, in that such relief will

provide a material net benefit to the Debtors’ estates and creditors after taking into account the

Bankruptcy Code’s priority scheme and that such relief is a proper exercise of business judgment

and in the best interests of the Debtors, their estates, creditors and all parties in interest; now,

therefore,

       IT IS HEREBY ORDERED THAT

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors’ are, in their sole discretion, authorized and empowered, but not

directed, to maintain their Surety Bond Program on an uninterrupted basis, and in accordance

with the same practices and procedures as were in effect prior to the Petition Date.

       3.      The Debtors are hereby authorized, but not directed, to honor each of the

Indemnity Agreements.

       4.      The Debtors are, in their sole discretion and in consultation with the Official

Committee of Unsecured Creditors (the “Committee”) and the Ad Hoc Committee under its

appearance filed at Docket No. 147 (the “Ad Hoc Committee”) (with five business days’

advance notice or such advance notice as is reasonably practicable), authorized, but not directed,

to pay all amounts arising under the Surety Bond Program, due and payable after the Petition




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Date; provided that the Debtors will not pay any prepetition amounts arising under the Surety

Bond Program before the applicable due date.

        5.     The Debtors are, in their sole discretion and in consultation with the Committee

and the Ad Hoc Committee (to the extent and with as much advance notice as is reasonably

practicable), authorized, but not directed, to renew existing surety bonds, increase or decrease the

size of any such surety bonds and obtain new surety bonds (including providing any collateral

and/or security in connection therewith), and execute any other agreements in connection with

the Surety Bond Program and all related instruments, documents and papers, and to take all

actions reasonably appropriate with respect thereto, in each case in accordance with the

applicable documents governing the Debtors’ Surety Bond Program.

        6.     The failure to specifically describe or include any particular feature of the Surety

Bond Program in this Order shall not diminish or impair the effectiveness of such feature, it

being the intent of this Court that the Surety Bond Program be approved in its entirety.

        7.     Nothing in this Order or the Motion shall be construed as prejudicing the rights of

the Debtors to dispute or contest the amount of or basis for any claims against the Debtors in

connection with or relating to the Surety Bond Program.

        8.     To the extent any surety bond or related agreement is deemed an executory

contract within the meaning of section 365 of the Bankruptcy Code, neither this Order nor any

payments made in accordance with this Order shall constitute the assumption or post-petition

reaffirmation of those surety bonds or related agreements under section 365 of the Bankruptcy

Code.




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       9.         The contents of the Motion and the notice procedures set forth therein are good

and sufficient notice and satisfy the Bankruptcy Rules and the Local Rules, and no other or

further notice of the Motion or the entry of this Order shall be required.

       10.        Any Bankruptcy Rule (including, but not limited to, Bankruptcy Rule 6004(h)) or

Local Rule that might otherwise delay the effectiveness of this Order is hereby waived, for

cause, and the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

       11.        The Debtors are authorized to take all such actions as are necessary or appropriate

to implement the relief granted in this Order.

       12.        The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and enforcement of this Order.



Dated: October 15, 2019
       White Plains, New York

                                            /s/Robert D. Drain
                                            THE HONORABLE ROBERT D. DRAIN
                                            UNITED STATES BANKRUPTCY JUDGE




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